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Exhibit “D”
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List of Terminating Direct Lenders Bought Out by Compass % Interest
William T. McHugh 0.93%
Ruth A. Kuester Trustee of the Ruth A. Kuester Trust dated 1/29/91 0.56%
Helen T. Bahneman 0.49%
Marshall J, Brecht & Janet L. Brecht Trustees of the Marshall J. Brechl Trusl dated 2/5/86 0.61%
Jamas Feeney Trusteo of the E & M Hardware Profit Sharing Plan 0.98%
Michael Percy & Carol Percy Trustees of the Percy Family Trust U/A 9/28/99 0.73%
Byme E. Falke Sr. Trustes of the Byrne Falke Living Trust 0.64%
Byme E. Falke Sr. Trustaa of tha Village Hardware Pension Trust 0.61%
Daryl D. Thompson Trustee of the Thompson 1893 TrusI dated 1/26/93 2.68%
Donald W. Cook Trustee of the Donald W. Cook Trust 0.49%
Judy A, Bonnet, an unmartied woman 0.49%
Howard C. Sayler & Phyllis L, Sayler Trustees of the Saylar Family Trust dated 9/2/98 0.37%
Perlman Invasiment Partners, L.P.. a Califomia limited partnership 0.73%
Fredarick W. Kewell Il. Trustee of he Barbara J. Kewell Trust dated 7/18/80 0.49%
9 Trustae of the ita Falkanborg 2000 Trust dated 6/20/00 0.49%
Deane Albright & Casey Persing Trustees of the Albright Persing & Associates Profit Sharing Plan 0.49%
Leny L. Rieger & Patsy R, Rieger Trusteas of tha Larry L. Rieger & Palsy R. Rieger Revocable Trust dated 8/14/91 0.49%
Pau! Hargis & Susan Gail Hargis, husband & wife, as Joint tenants with right of survivorship 0.61%
Monighatti, Inc.. a Navada corporation 0.49%
Jack J, Beaulleu Trustee of the Jack J, Beaulieu Revocable Living Trust dated 9/1/94 1.95%
Arthur B. Moore, an unmertied man 0.28%
Gareth A. R, Craner Trustea of The Garath A. R. Craner Trust Dtd 6/01/02 0.59%
Steven G. Sapoum, a married man dealing with his sole & separate property 0.32%
First Savings Bank Custodian For Lynn Fetterly IRA 0.61%
Herbert Slovis, a single man & Julle B, Stovis, a singla woman as joint tenants with right of survivorship 0.49%
Nicholas Perrona Trustee of the Nicholas Perrona Trust dated 7/12/90 0.44%
Robert S. Speckert Trustee of the Robert S. Speckert Rev. Living Trust datad 6/14/92 0.61%
Rogie C, Madlambayan, a single man 0.49%
First Savings Bank Custodian For Edward Burgess IRA 0.63%
First Savings Bank Custodian For Lamberto Eugenio IRA 0.49%
Robert A. Susskind, an unmarried man 0.37%
Sovereign Capital Advisors, LLC, a Nevada Iimitad liabllity company 0.73%
First Savings Bank Custedian For Carmen G. McCally IRA 0.30%
Leland K, Swanson Trustee of the Alvin M. Swanson & Grace E. Swanson Living Trust dated 7/26/01 0.88%
Bill Penn & Isa Penn Trustees of the Penn Family Trust dated 1/20/90 0.42%
Bert E. Amlund Trustee of the Bert E. Amlund Charitable Remainder Unitrust dated 12/31/01 0.49%
Robert D. Phillips, an unmarried man 0.59%
Judy S. Young, an unmartied woman 0.48%
David L. Zwarg & Cara D. 2warg, husband & wife, as joint tenants with right of survivorship 0.49%
Robert L. Allgeier & Donna L. Aligeier Trustees of the R. L. Aligolar Family Trust dated 10/4/97 0.51%
Willlam D. Wickland & Victoria R. Wickland, husband & wife, as Joint tenants with right of survivorship 0.98%
Rachel Riehle, an unmarried woman 0.49%
Judith L. Fountaln Trustea of the Judith L. Fountain trravocable Trust dated 08/26/97 1.22%
Slerra Eya Associates Profit Sharing Plan 0.49%
Rodney J. Arbogast & Donna Arbogast Trustees of the Arbogast Family Trust 2.44%
Tome S, Ford, an unmarried woman 0.29%
California National Bank Custodian for benefil of Jay S, Steln IRA 0.49%
Randi E, McHugh 0.24%
JV Marrone Trustee for the benafil of The J V Marrona Ravocable Trust datad 12/12/95 0.24%
Jahn M. Luongo & Gloria Luongo, husband & wife, as Joint tenants with right of survivorship payable on death to Stephanie Luo 0.24%
Eric S. Periman, an unmanied man 0.24%
Ronald K. Montesano Trustea for the benefit of The Underpass Trust 0.24%
Gerald Lewis & Judith J. Lewis, husband & wife, as Joint tenants with right of survivorship 0.24%
Daniel K. Fix & Barbara J. Fix Trustees of the Danial K. Fix & Barbara J. Fix Family Trust 0.24%
Glenn B. Davis & Bamia S, Davis Trustees of the Davis Revocable Living Trust UA 7/06/88 0.24%
Cynthia G. Davis Trustee of the Cynthia G. Davis Living Trust 0.24%
Annle Omaya & Stanley Omaye Trustees of tha Omaye 1990 Trust 0.24%
Thalia Nicholas Routsls Trustee of the Thalia Routsis Family Trust dated 7/24/90 0.24%
Josaph N. Rizzuto & Dorothy Rizzuto Trustees of the Joseph N. Rizzuto Family Trust dated 4/24/89 0.24%
Arthur €. Kebbla & Thelma M. Kebble Trustees of the Arthur E. Kebble & Thelma M. Kebble Family Trust dated 5/19/95 0.24%
Alan R. Simmons & Judith B. Simmons, husband & wie, as jolnt tenants with right of survivorship 0.24%
June Cook Trustee of the Alvin Broldo Marital Trust U/A dated 4/24/72 0.24%
K. Ken Kaneda & Brigitte Arend-Kaneda Trustees of the Kanada Living Trust dated /30/02 0.24%
Douglas Minter & Elizabeth F, Minter Trustees of the Minter Family 1994 Trust 0.24%
Willlam Bolding & Carolyn Botding, husband & wile, as joint tenants wilh right of survivorship 0.24%
V.R. Marrone & Reba F. Marrone Trustees of the VR. & Reba F. Marrone Trust daled 10/22/01 0.24%
Connie Minos & Ivan Loabs, wife & husband, as Joint tenants with right of survivorship 0.24%
Charles Lebron Parker & Mary Jane Parker, husband & wife, as joint tenants with right of survivorship 0.24%
James H. Lidster & Phyilus M. Lidster Trustees of the James H. Lidster Family Trust dated 1/20/92 0.24%
Russell M, Blood & Judy A, Blood Trustess of the Blood Family Trust dated 5/18/99 0.24% .
First Savings Bank Custodian For Bobble Marrs IRA 0.24%
Barbara Relss Miller Trustee of the Barbara Reiss Miller Revocable Living Trust dated 2/4/03 0.24%
Clawiter Associates, LLC, a California limited liability company 0.24%
Bay Area Cepltal, LLC, an Oragon limited liability company 0.27%
James C, Stil, a married man dealing with his sole & separate property 0.24%
David M. Thatcher, a single man 0.24%
Denise L. Barzan, a mariad woman dealing with her sole & separate property & Barbara Snelson, a mamled woman dealing wi 0.24%
Han K. Lee & Carot L. Lee, husband & wife, as joint tanants with tha right of survivorship 0.24%
Marlin L. Manning, a married man dealing with his sole & separate property 0.24%
First Savings Bank Custodian For Harvey Alderson IRA 0.24%
James W. Forsythe & Earlene M. Forsythe, husband & wif, as Joint tenants with right of survivorship 0.24%
Joseph Sterling & Theresa Sterling Trustees of the Sterling Family Trust dated 6/14/02 0.24%
Dale J. McMullan Trustee of the McMullan Living Trust dated 8/19/04 0.24%
Sierra Weel, Inc,, a Nevada corparation 0.24%
Syivia M. Good Successor Trustee under the Sylvia M. Good Survivor's Trust established under tha Sam Good Famity Trust di 0.24%
Tracy A. DeBerry, an unmaried man 0.24%
Eric C. Disbrow Trustee of the Eric C. Disbrow MD Inc. Profit Sharing Plan 0.24%
Kenneth R, Greene & N. Dean Greene, husband & wifa, as Joint tenants with righl of survivorship 0.24%
Bert A. Stevenson Trustas of the Dalton Trust dated 1/7/04 0.29%
Edward H. Kim, an unmarried man 0.24%
Sam Costanza, Trustee of The Costanza 1987 Dacedent's Trust 0.24%
Firet Savings Bank Custodian For Martin W. McColly IRA 0.27%
Sam Costanza Trustee of the Castanza 1987 Survivor's Trust dated 2/12/87 0.27%
First Trust Co. Of Onaga Custodian fer Hamilton M, High IRA 0.24%
Benadict €, Urban & Roselyn N. Urban Trustees of Tha Benedict E. Urban & Rosalyn N. Urban Family Trust dated 2/3/04 0.24%
Oavid Rosner Trustee of the David Rosner Revocable Trual dated 01/05/2005 0.24%
Marlo A. Maki & Raymond E. Maki, husband & wife, as Joint tenants with ght of survivorship 0.24%
B.E.A. Family, Inc., a Nevada corporation 0.24%
Edwin L. Snelson & Barbara Snelson, husband & wife, as Joint tenants with right of survivorship 0.24%
Sidney L. Larson & Ruth Ann Larson Trustess of the Larson Family Trust daled 6/19/94 0.24%
‘Suzanne M, Halvorson Trustee of the Suzanne M. Halvorson Trust dated 3/21/03 0.24%

Robert Levy & Renee Levy Trustees of the RNR Living Trust dated 10/1/04 0.24%

45.41%
